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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF MASSACHUSETTS
                                CENTRAL DIVISION



 UNITED STATES OF AMERICA,                           )   Civil Action No. 4:17-cv-40011-TSH
                                                     )
            Plaintiff,                               )   Judge Timothy S. Hillman
                                                     )
            v.                                       )
                                                     )
 DAVID L. TOPPIN, et al.,                            )
                                                     )
                                                     )
            Defendants.                              )

              Plaintiff United States of America’s Request for Entry of Default

       The plaintiff United States of America, pursuant to Rule 55(a) of the Federal Rules of

Civil Procedure and upon the annexed declaration, requests that the Clerk of the Court enter the

default of the defendant David L. Toppin. In support of this request, the United States by its

undersigned counsel states:

       1. This action seeks to reduce to judgment certain federal tax assessments made against

the defendant, David L. Toppin, and enforce the federal tax liens against three parcels of real

property described in the complaint.

       2. On or about April 20, 2017, the defendant, David L. Toppin, was personally served

with the summons and amended complaint in this action in accordance Fed. R. Civ. P. 4(e)(2),

making his answer or other response to the complaint due on May 11, 2017. Dkt. No. 10

       3. After filing a motion for an extension of time to answer, see Dkt. No. 23, on June 12,

2017, the defendant David L. Toppin filed a motion to dismiss the amended complaint on

jurisdictional grounds. Dkt. No. 42. The motion to dismiss was denied by the Court on March




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15, 2018. See Dkt. No. 53. Pursuant to Fed. R. Civ. P. 12(a)(4)(A), the defendant was then

required to filed a responsive pleading within 14 days of the denial of the motion to dismiss.

       4. The defendant, David L. Toppin, has not filed an answer or other response to the

amended complaint within the period allowed under the Federal Rules of Civil Procedure (nor

has he provided initial disclosures as required by this Court’s scheduling order issued on May 9,

2018. Dkt. No. 60.).

       5. Pursuant to Rule 55(a) of the Federal Rules of Civil Procedure, the Clerk shall enter

the default of the defendant, David L. Toppin. A proposed entry of default is attached.

       WHEREFORE, the plaintiff United States requests that the Clerk enter the default of the

defendant, David L. Toppin.

                                                     Respectfully submitted,

                                                     RICHARD E. ZUCKERMAN
                                                     Principal Deputy Assistant Attorney General
                                                     Tax Division, U.S. Department of Justice

                                                     /s/ Jeffrey N. Nuñez
                                                     JEFFREY N. NUÑEZ
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                                      Certificate of Service

      I, Jeffrey N. Nuñez, pursuant to D. Mass. Civ. L.R. 5.2(b), hereby certify that on
November 5, 2018, I electronically filed the foregoing document via this Court’s ECF system,
which will send notice to all parties requesting notice through this Court’s ECF system.

        A copy of the foregoing document was also served upon the following party who is not a
registered CM/ECF participant, via First Class United States mail:

                                        David L. Toppin
                                        465 Salisbury St.
                                       Holden, MA 01520

The United States submits that, under the circumstances, no other or further notice is required.


                                                     /s/ Jeffrey N. Nuñez
                                                     JEFFREY N. NUÑEZ
                                                     Trial Attorney, Tax Division
                                                     U.S. Department of Justice




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